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United States Bankruptcy Court

Southern District of Florida

www.flsb.usc

ourts.gov

In re:

X AUTO IMPORT & EXPORT CORP,

To:

Wells Fargo Bank, N.A.

Attn: Subpoena Processing Charlotte
P.O. Box 1415

MAC #D1111-016

Charlotte, NC 28201

]

[
time specified below to testify in the above case.

SUBPOENA IN BANKRUPTCY
PROCEEDING

Case No. 24-13406-RAM
Chapter 7

YOU ARE COMMANDED to appear in the United States Bankruptcy Court at the place, date and

PLACE OF TESTIMONY

COURTROOM

DATE AND TIME

[ ]
taking of a deposition in the above case.

YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the

PLACE OF DEPOSITION

DATE AND TIME

[ X] YOU ARE COMMANDED to produce and permit inspection and copying of the following documents
or objects at the place, date, and time specified below (list documents or objects):

See attached Exhibit

“Ae

PLACE: Law Offices of James B. Miller, Esa.
19 West Flagler Street, Suite 416
Miami, FL 33130

DATE AND TIME:
August 2"4, 2024 at 10:00 a.m.

[ ]

below.

YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified

PREMISES

DATE AND TIME

Any organization
more officers, directors, or

party to this proceeding that is subpoenaed for the taking of a deposition shall designate one or
anaging agents, or other persons who consent to testify on its behalf, and may set forth, for each

person designated, the matterg on which the person will testify, Fed. R. Civ. P. 30(b)(6) made applicable in proceedings by

Bankruptcy Rule 2004. nkruptcy Rules 1018 and 9014.

ISSUING OFFICAR ATURE

TITLE: Counsel to Chapter 7 Trustee
Jacqueline Calderin

ISSUING OFF S NAME (PRINT):
James’B. Miller, Esq.

PHONE: 305-374-0200

ADDRESS: 19 West Flagler Street, Suite416
Miami, FL 33130

jom@title11law.com

DATE: July 2"¢, 2024

PROOF

OF SERVICE
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DATE: = July 24, 2024

PLACE: Wells Fargo Bank, N.A., Attn: Subpoena Processing Charlotte
P.O. Box 1415
MAC #D1111-016
Charlotte, NC 28201

Served on: Records Custodian

SERVED ON (PRINT NAME)
Wells Fargo Bank, N.A.

MANNER OF SERVICE
US Mail & Certified Mail

SERVED BY (PRINT NAME)

Amado Sabina amado@title11law.com

TITLE

Paralegal |

DECLARATION OF SERVER

| declare under penalty of perjury under the laws of the United States of America th

in the Proof of Service is true and correct.

Executed on July 24 2024

at theforegoing information contained

pat

Date

Address of Server

Si Server
19 Wesf Flagler Street, Suite 416
iapfi, FL 33130

Rule 45, Fed. R. Civ. P., Parts (c) & (d) made applicable in cases under the Bankruptcy Code by Bankruptcy Rule 9016. See also Local

Rules 7026-1 and 7027-1.

(c) PROTECTION OF PERSONS SUBJECT TO SUBPOENAS.

(1) A party or an attorney responsible for the issuance and service of
a subpoena shall take reasonable steps to avoid imposing undue burden or
expense on a person subject to that subpoena. The court on behalf of
which the subpoena was issued shall enforce this duty and impose upon
the party or attorney in breach of this duty an appropriate sanction, which
may include, but is not limited to, lost earnings and a reasonable attorney’s
fee.

(2)(A) A person commanded to produce and permit inspection and
copying of designated books, papers, documents or tangible things, or
inspection of premises need not appear in person at the place of production
or inspection unless commanded to appear for deposition, hearing or trial.

(B) Subject to paragraph (d)(2) of this rule, a person commanded to
produce and permit inspection and copying may, within 14 days after
service of the subpoena or before the time specified for compliance if such
time is less than 14 days after service, serve upon the party or attorney
designated in the subpoena written objection to inspection or copying of
any or all of the designated materials or of the premises. If objection is
made, the party serving the subpoena shall not be entitled to inspect and
copy the materials or inspect the premises except pursuant to an order of
the court by which the subpoena was issued. If objection has been made,
the party serving the subpoena may, upon notice to the person commanded
to produce, move at any time for an order to compel the production. Such
an order to compel production shall protect any person who is not a party
or an officer of a party from significant expense resulting from the
inspection and copying commanded.

(3)(A) On timely motion, the court by which a subpoena was issued
shall quash or modify the subpoena if it

(i) fails to allow reasonable time for compliance;

(ii) requires a person who is not a party or an officer of a party
to travel to a place more than 100 miles from the place where that person
resides, is employed or regularly transacts business in person, except that,
subject to the provisions of clause (c)(3)(B)(iii) of this rule,

such a person may in order to attend trial be commanded to travel from
any such place within the state in which the trial is held, or

(iil) requires disclosure of privileged or other protected matter
and no exception or waiver applies, or

(iv) subjects a person to undue burden.

(B) Ifa subpoena

(i) requires disclosure of a trade secret or other confidential
research, development, or commercial information, or

(ii) requires disclosure of an unretained expert’s opinion or
information not describing specific events or occurrences in dispute and
resulting from the expert’s study made not at the request of any party, or

(ili) requires a person who is not a party or an officer of a party
to incur substantial expense to travel more that 100 miles to attend trial,
the court may, to protect a person subject to or affected by the subpoena,
quash or modify the subpoena or, if the party in whose behalf the
subpoena is issued shows a substantial need for the testimony or material
that cannot be otherwise met without undue hardship and assures that the
person to whom the subpoena is addressed will be reasonably
compensated, the court may order appearance or production only upon
specified conditions.

(d) DUTIES IN RESPONDING TO SUBPOENA.

(1) A person responding to a subpoena to produce documents shall
produce them as they are kept in the usual course of business or shall
organize and label them to correspond with the categories in the demand.

(2) When information subject to a subpoena is withheld on a claim that
it is privileged or subject to protection as trial preparation materials, the
claim shall be made expressly and shall be supported by a description of
the nature of the documents, communications, or things not produced that
is sufficient to enable the demanding party to contest the claim.
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EXHIBIT “A”
I. DEFINITIONS

1. The term “Representative” shall mean any and all agents, employees, servants,
officers, directors, attorneys, or other persons acting or purporting to act on behalf
of Wells Fargo Bank, N.A.

2. The term “Person(s)” shall mean the plural as well as the singular and shall
include any natural person, corporation, partnership, joint venture, association,
government agency, and every other form of entity cognizable at law.

The terms “You” and “Your” refer to Wells Fargo Bank, N.A.

4, The term “Document” shall mean the original and any copy whether different
from the original by reason of any notation made on such copies or otherwise,
regardless of the origin or location, of any written, recorded, transcribed, punched,
taped, films or graphic matter, however produced or reproduced, including, but
not limited to, any correspondence, notes, logs, journals, reports, letter,
memoranda, notes, diaries, statistics, minutes, contracts, studies, checks,
statements, receipts, returns, summaries, pamphlets, prospectuses, interoffice and
intraoffice telephone calls, meetings or other communications, bulletins, printed
matter, computer printouts, teletypes, telecopies, telefax, invoices, worksheets
(and all drafts, alterations, modifications or changes to any of the foregoing);
graphic and oral record or representations of any kind, including without
limitation, photographs, charts, graphs, diagrams, illustrations, drawings,
microfiche, microfilm, video tape recordings, motion pictures, electronic,
mechanical or electrical records or representations of any kind, including without
limitation, tapes, cassettes, discs and recordings.

5. The term “All Documents” shall mean any document as above defined known to
you and every such document which can be located or discovered by reasonably
diligent efforts.

6. The term “Communication” shall mean any oral or written utterance, notation or
statement of any nature whatsoever, by and to whosoever made, including, but not
limited to, correspondence, conversations, dialogues, discussions, interviews,

conferences, meetings, consultations, agreements and the understandings between
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or among two or more people.

The terms “Identification,” “Identify,” and/or “Identity,” when used is reference
to (a) a natural individual, require you to state his or her full name and residential
and business addresses: (b) a corporation, require you to state its full corporate
name and any names under which it does business, its state of incorporation, the
address of its principal place of businesses, and the addresses of all of its offices
in the State of Florida; (c) a business, require you to state the full name or style
under which the business is conducted, its business address or addresses, the types
of businesses in which it is engaged, the geographic areas in which it conducts
those business, and the identity of the person or persons who own, operate, and
control the business; (d) a document, require you to state the number of pages and
the nature of the document (e.g., letter or memorandum), its title, its date, the
name or names of its authors and recipients, and its present location and
custodian; (e) a communication, require you, if any part of the communication
was written, to identify the document or documents which refer to or evidence the
communication, and, to the extent that the communication was non-written, to
identify the persons participating in the communication and to state the date,
manner, place and substance of the communication.

The term “Describe in Detail” shall mean to recite the information in your
possession for each separate and distinct act, instance, occurrence, or
communication, including the date, location and identity of each and every person
present or involved, and the identity of each and every communication and each
and every document which related to the act, instance, occurrence or
communication. .

The term “Referring to” or “Relating to” means in any way directly or indirectly,
concerning, referring to, disclosing, describing, confirming, supporting,
evidencing or representing.

The term “And” and “Or”, as used herein, are both conjunctive and disjunctive.
All singular words include the plural, and all plural words include the singular.
All works in the present tense include the past, and all works in the past tense

include the present.
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Each paragraph herein shall be construed independently and not by reference to
any other paragraph for the purpose of limitation.
You are required to produce all documents properly requested by the request for
production which are in your custody or subject to your control, and to use
reasonable diligence to locate and produce such documents. If any documents
cannot be located or no longer exists, you are requested to provide an explanation
and to identify the last known location and custodian of the document. If you
contend that you are entitled to withhold from review any or all documents
identified herein on the basis of any privilege, then do the following with respect
to each and every document so withheld: (a) describe the nature of the document
(e.g., letter or memorandum); (b) state the date of the document; (c) identify the
persons who sent and received the original and a copy of the document; (d) state
the subject matter of the document; and (e) state the basis upon which you
contend you are entitled to withhold the document from production.
Unless otherwise instructed, the relevant time period for all responsive documents
shall be one year prior to and through the date of filing the bankruptcy petition to
the present.
The term “Debtor” refers to X Auto Import & Export Corp whose last known
principal and mailing address was 9937 NW 27 Ave., Miami, FL 33147, together
with any and all, present and former agents, employees, representatives, servants,
attorneys, or other persons acting or purporting to act on behalf of X Auto
Import & Export Corp.
The term “Estate” refers to the Debtor’s above-styled bankruptcy Case No. 24-
13406-RAM.

Il. CONTINUING REQUEST

This is a continuing request for the production of documents. At such time as you

become aware of the existence of any additional documents responsive to this

Request, you are hereby requested to produce such documents.

Ill. DESTROYED DOCUMENTS

If any document responsive to this Request was at one time in existence, but has been lost
LF-83 (12/01/02)

okse Od, 3406 RAINY bOmovlidled bilete UARIeAL(sPRIOH Of Gstroyed stating the
following information for each such document: (a) the type of document; (b) the date on
which it ceased to exist; (c) the circumstances of its loss or destruction, (d) the identity of
all persons having knowledge of the reasons for its loss or destruction, and (e) the identity

of all persons having knowledge of its contents.

IV. REQUEST FOR PRODUCTION

Any and all bank statements, canceled checks (legible front and back copies),
cashier's checks (legible front and back copies) and negotiable instruments,

signature cards, debits and debit memos, deposits, detailed wire transfer

records, financial statements, credit card agreements, credit card applications,
credit cards statements, closing statements, personal loans, line of credit
applications and statements, business line of credit applications and statements
(including but not limited to the account ending x4552), and/or any other
memoranda in your possession, custody or control, showing or tending to show all

transactions between accounts ending in x8956 and x0191, and Wells Fargo

Bank, N.A. from April 2019 through the date of your response to this subpoena
request, and identified in the attached statement hereto as Exhibit “A”. In addition
to any other accounts held by or in the control of the Debtor, X Auto Import & Export
Corp (Federal Tax ID #XX-XXXXXXX).
